Case 8:17-CV-02971-VI\/|C-AAS Document 10 Filed 01/02/18 Page 1 of 1 Page|D 45

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UNITED STATES DISTRICT COURTZNH JAH _2 P 0
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TAMPA DrvtsloN MHJHJEJ§KO‘{§TH:T¥R$EIFECQ,;_ _
oNAs sANTlAGo, "P FLomoA OR'D"“
Plaintiff,
v, Case No: 8:l7-cv-297l-'l`-33AAS
MUNCl-llES PET OF NEW TAMPA, lNC.
and TEXT TAMPABAY, LLC.
Defendants.
NoTlCE OF PENDENCY OF OTHER AchoNs
ln accordance with Local Rule l.04(d), l certify that the instant action:
lS related to pending or closed civil or criminal case(s) previously filed in this

lS NOT related to any pending or closed civil or criminal case filed with this Court,
or any other Federal or State court, or administrative agency.

Court, or any other Federal or State court, or administrative agency as
indicated below:

 

 

 

 

l further certify that l will serve a copy of this NoTlClz oF Pl-:NDF.NCY or OTHER AchoNs
upon each party no later than fourteen days after appearance of the party.

Dated:

 

ecord or Pro Se Party
[Address and Telephone]

